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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLORADO

                                                      Case No. 14-17484-HRT
  IN RE:                                              Chapter 13

  Suzan Rene Harding aka Rene Harding

  Debtor(s).

  Wilmington Savings Fund Society, FSB, d/b/a Christiana Trust, as indenture trustee, for the
  CSMC 2015-RPL3 Trust, Mortgage-Backed Notes, Series 2015-RPL3,

  Movant,

  vs.

  Suzan Rene Harding aka Rene Harding
  and
  Douglas B. Kiel, Bankruptcy Trustee.

                   ORDER APPROVING STIPULATION AND RESOLVING
                          MOTION FOR RELIEF FROM STAY

          THIS MATTER, having come before the Court upon the Parties’ Motion to Approve
  Stipulation and Stipulation Resolving Wilmington Savings Fund Society, FSB, d/b/a Christiana
  Trust, as indenture trustee, for the CSMC 2015-RPL3 Trust, Mortgage-Backed Notes, Series
  2015-RPL3’s Motion for Relief from Stay.

         THE COURT, having reviewed the file and the Stipulation, finds that the Stipulation is
  proper; and hereby

          ORDERS that the terms of the Stipulation are hereby approved and made an order of the
  court for the duration of the case, and that the Motion for Relief from Stay is withdrawn.

           DATED this _________day of ____________________, 20__.


                                              BY THE COURT:


                                              __________________________________
                                              U.S. Bankruptcy Court Judge
           File No. 15-02793 (22)
